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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

IN RE PORK ANTITRUST LITIGATION              Civil No. 18-cv-1776-JRT-JFD

This Document Relates To:

Sysco Corp. v. Agri Stats, Inc., et al.,      The Honorable John R. Tunheim
                                              The Honorable John F. Docherty
       Case No. 21-cv-1374 (D. Minn.)




              PORK DEFENDANTS’ RESPONSE TO OBJECTIONS TO
               MAGISTRATE JUDGE’S FEBRUARY 9, 2024 ORDER
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                                    INTRODUCTION

       Created, owned, and fully controlled by litigation funder Burford Capital

(“Burford”), Carina Ventures LLC (“Carina”) was formed on June 12, 2023 for the sole

purpose of receiving an assignment of Direct Action Plaintiff Sysco Corporation’s

(“Sysco”) claims in several antitrust cases, including this one. Shortly thereafter, Sysco and

Carina (collectively “Objectors”) jointly moved the Court under Federal Rule of Civil

Procedure 25 to substitute Carina for Sysco as a Plaintiff. (ECF 1940 (“Motion”).) The

Motion asked the Court to ratify a litigation funder’s creation of an investment vehicle to

take direct control of a real-party-in-interest’s legal claims and participate in the case as a

litigant. Magistrate Judge Docherty correctly rejected that extraordinary request.

       The operative holding in Magistrate Judge Docherty’s February 9, 2024 Order (ECF

2104) (“Order”) is quite narrow and specific. Recognizing the multiple practical,

prudential, and policy problems caused by granting party status to a litigation funder after

years of litigation, the Order exercised the Court’s broad discretion to deny Rule 25

substitution. The Order contains no legal error and is not an abuse of discretion. It raises

no issue warranting oral argument and should be affirmed.

                  PROCEDURAL AND FACTUAL BACKGROUND

       Although the Objectors strain to create factual disagreements with the Order, their

own representations and admissions establish the core, operative facts. In short, Burford

created Carina to resolve contentious litigation with Sysco that arose when Burford sought

to prevent Sysco from entering settlements. (ECF 2126 at 3-4.) To resolve that litigation

and “alleviat[e] Sysco’s burden to pursue expensive litigation against commercially


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important suppliers,” Sysco assigned its claims in this lawsuit to Carina—“a subsidiary of

Burford”—“to allow Carina to continue litigating as the named plaintiff.” (Id. at 4.)

Because that history provided Magistrate Judge Docherty with ample grounds for

discretionary denial of Rule 25 substitution, Defendants review it here. 1

I.        BURFORD LITIGATES TO BLOCK SYSCO’S EXECUTION OF “FULLY
          NEGOTIATED” SETTLEMENTS

          Sysco sued Defendants in the Southern District of Texas on March 8, 2021. The

JPML transferred the case to this Court for consolidation with In re Pork Antitrust

Litigation (“Pork”). (See ECF 1972 at 5.) Defendants took significant discovery from

Sysco, including document productions and depositions. (Id.) Sysco’s witnesses

                                                        (See id. at 5-6.) Instead of supporting



                                         , Sysco’s witnesses testified



(Id. at 6-7.)

          Burford invested in Sysco’s legal claims by fronting it $140 million in exchange for

a financial interest in Pork and other Sysco antitrust lawsuits. (New York Litig. Dkt. 10 at

1.) 2

          The relationship between Sysco and Burford fractured when Burford refused to



1
     A full recitation of the facts in opposition to the motion is set forth in ECF 1972 at 1-13.
2
   See Glaz LLC. v. Sysco Corp., Case No. 1:23-cv-02489-PPG (S.D.N.Y) (“New York
Litigation”); Sysco Corp. v. Glaz LLC, No. 23-cv-1451 (N.D. Ill.) (“Illinois Litigation”).


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consent to “reasonable settlements” that Sysco entered with several “of its key suppliers.”

(See Illinois Litigation Dkt. 1 at 6-7.) According to Sysco, Scott Gant—Sysco’s counsel in

Pork before being terminated and reemerging as Carina’s counsel—played a pivotal role

in Burford’s veto of Sysco’s settlements. (See New York Litigation Dkt. 38-7 at 1.) While

representing Sysco, Mr. Gant told Burford that the settlements were, in his view,

“unreasonably low” and were motivated by Sysco’s “separate business considerations that

are leading them to want to dispose of these cases.” (Id.; see also ECF 1884 at 3-4.)

       In September 2022, Burford initiated arbitration to enjoin Sysco from executing the

agreed-to settlements. (New York Litigation Dkt. 18 at 2).) On March 8, 2023, following

entry of a preliminary injunction blocking Sysco from executing those settlements, Sysco

and Burford filed dueling lawsuits: Sysco sued in the Northern District of Illinois to vacate

the panel’s decision, and Burford sued in New York state court (removed to the Southern

District of New York) to confirm the decision. (See n.2.)

       During the same timeframe, Sysco’s dispute with Burford disrupted this litigation

when Sysco sought a stay while it searched for new counsel. (ECF 1845.) As Sysco

explained to this Court, Burford barred it “from executing months old, fully-negotiated

settlements with multiple defendants in this case,” 3 complicating its ability to find new

counsel after it terminated Mr. Gant and his firm, Boies Schiller. (Id. at 2.) When the Court


3
     Sysco now describes those “fully-negotiated settlements” as mere “proposed
settlements” and “prior settlement offers”, see ECF No. 2126, pp. 3, 10 (emphases added),
which only underscores the lengths to which it will go to do Burford’s bidding. Those
“fully-negotiated” settlements remain valid and binding, and JBS (a defendant that reached
settlements with Sysco) reserves all rights, including to seek their enforcement by this
Court.

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required the Objectors to comply with Local Rule 83.7 (ECF 1872), Sysco argued, inter

alia, that Boies Schiller had “encouraged [Burford’s] litigation against Sysco” (ECF 1884

at 2) and made “false and misleading statements to this Court” (id. at 6). The Court then

granted the motion, staying Sysco’s Pork claim so it could retain new counsel. (ECF 1890.)

II.    CEDING CONTROL OF LITIGATION TO A FUNDER VIOLATES
       PUBLIC POLICY AND UNDERMINES THE INTEGRITY OF THE
       COURTS

       Until joining the Motion with Carina, Sysco repeatedly explained to multiple courts

why the law prohibits Burford from controlling Sysco’s claims.

       According to Sysco, Burford’s control of Sysco’s claims “violates well-established

public policy in all potentially relevant jurisdictions,” including “Illinois and Minnesota,

the states in which the underlying Antitrust Litigations are pending.” (New York Litigation

Dkt. 18 at 7.) Indeed, Sysco recognizes that allowing a funder to control settlement and

resolution of a plaintiff’s claims violates “public policy in every state.” (Id. at 11.) Sysco

also admits that ceding control of litigation to a funder is “unconscionable in Minnesota …

where the case law is clear that a litigation funder cannot wrest control of claims from the

litigant.” (Id. at 15.)

       Sysco has also extensively advocated that direct control over its claims by Burford

undermines “the integrity of the US court system.” (Id. at 12-13.) The courts are “intended

to be a forum where disputes may be resolved and justice may be done, not a casino in

which financial speculators may gamble with claims that are not their own or prolong

litigation for motives that (as here) having nothing to do with the funded litigants’ own

claims.” (Id.) In contrast to Sysco which sought to resolve its antitrust claims on its own terms,


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Burford seeks “to make more money on Sysco’s claims and Burford’s unrelated

investments by forcing Sysco to continue litigating against its will.” (Id. at 13.) Sysco

recognizes that exercise of litigation control by a funder constitutes “naked speculation in

litigation [that] is precisely what public policy forbids.” (Id.) And Sysco is “aware of no

case in which any court has permitted a litigation funder to buy control over a party’s

settlement decision.” (Id.)

       When requesting that this Court stay Pork, Sysco directed the Court to its pleadings

in the Sysco-Burford litigation. (See ECF 1845 at 3.) And in pleadings submitted to this

Court, Sysco advised that a funder’s assertion of control over litigation raises “deep-rooted

public policy” concerns. (ECF 1846-1 at 7.)

III.   CARINA IS SPAWNED TO RESOLVE SYSCO’S LITIGATION WITH
       BURFORD OVER CONTROL OF SYSCO’S CLAIMS

       Knowing the policy and practical problems caused by a funder controlling litigation

decisions, Sysco resolved its litigation with Burford by assigning its antitrust claims to

Burford’s newly created “special purpose financing vehicle,” otherwise known as Carina.

(See ECF 1952 at 1-2 (noting that “Burford and Sysco agreed to settle their dispute …”

and “[a]s part of that resolution, Sysco assigned its food antitrust claims—including its

claims in this case—to Carina, a Burford affiliate”).)

       Carina was formed on June 12, 2023. (ECF 1973-2.) By June 28, 2023, Sysco had

assigned its antitrust claims to Carina, purportedly transferring its right to “any settlement

of or award or judgment entered” and full control of “all related pre- and post-trial

proceedings.” (ECF 1940, Ex. A at 1, 5.) The next day, the Objectors jointly moved for



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substitution, claiming that “the Court should substitute Carina as the Plaintiff in the above-

captioned action, remove Sysco from the docket and all ECF notices as a party, and the

action should proceed as if it had been originally commenced by Carina.” (Id. at 1.)

       The assignment and motion to substitute were the culmination of Burford’s plan to

take control of the litigation. Sysco pointed to the following Burford recap of a call with

Mr. Gant as evidence of his breach of ethical obligations:




(New York Litigation Dkt. 38-7 at 3.)

       Following extensive briefing on the Motion, Magistrate Judge Docherty held a two-

hour hearing on August 21, 2023 that included argument from Sysco’s counsel and two

attorneys representing Carina. (ECF 2006.) During the Court’s January 18, 2024 status

conference, Magistrate Judge Docherty explained that he was continuing to review “the

extensive procedural history in multiple forums” relevant to the motion. (Tr. 34:16-25.)

The Order’s factual findings painstakingly cited to the Objectors’ own representations to

this and other federal courts. (Order at 6-10.)




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                                      ARGUMENT

       The Order should be affirmed. First, review of Magistrate Judge Docherty’s Order

is extremely deferential, and he committed no clear legal or factual error in exercising his

broad discretion in declining to permit something called a “special purpose financing

vehicle” to substitute as a Plaintiff at this stage of the litigation. (See ECF 1952 at 1.)

Second, whether analyzed under state or federal law, courts uniformly reject the specter of

litigation funders, particularly those who are strangers to the case and have no injury of

their own, from asserting direct control over legal claims. The Order is well-grounded in

both the facts and the law.

I.     THE ORDER APPROPRIATELY EXERCISED THE COURT’S
       DISCRETION TO PREVENT A LITIGATION FUNDER FROM USING
       RULE 25 TO SHOEHORN ITSELF INTO A LITIGATION PARTY

       The Objectors misstate the standard of review applicable to their objections and

ignore Magistrate Judge Docherty’s broad discretion to deny substitution.

       Review of a Magistrate Judge’s order on non-dispositive pretrial matters is

“extremely deferential.” Shukh v. Seagate Tech, LLC, 295 F.R.D. 228, 235 (D. Minn.

2013). Reversal or modification is appropriate only if an order is clearly erroneous or

contrary to law. 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a); D. Minn. LR 72.2(a). “A

decision is contrary to law when it fails to apply or misapplies relevant statutes, case law

or rules of procedure.” Shukh, 295 F.R.D. at 235. A finding is clearly erroneous when

review of the “entire evidence” definitively confirms that “a mistake has been committed.”

Id. (quoting Lisdahl v. Mayo Found., 633 F.3d 712, 717 (8th Cir. 2011)).




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       The Objectors seek de novo review, implying that Magistrate Judge Docherty

reached legal conclusions and ruled on issues that he declined to address. Most notably,

while Defendants advocated that the Court invalidate Sysco’s assignment of its claims to

Carina as violative of public policy, the Order expressly declined to rule on that issue.

(Order at 14-15.) 4 Nor did the Order reject Carina’s Article III standing as a matter of law.

(Id. at 14.) Instead, Magistrate Judge Docherty explicitly limited the Order to “the question

of whether the Court should exercise its discretion to allow the substitution under Rule

25(c).” (Id. at 15.) And in rejecting substitution, the Order made clear that its reasoning

stemmed from the “practical problems” (id. at 3) and “prudential considerations” (id. at

14) Carina’s substitution presents, not application of a legal rule. (See also id. at 14-16.)

Indeed, the Order referred to the applicable discretionary standard more than a dozen times

as it explained the factors informing the decision. (Id. at 3, 4, 15, 16, 18, 24.)

       From the filing of their Motion, the Objectors have proceeded as if the Court must

accept substitution as a fait accompli. Their objections continue that effort (see ECF 2127

at 6-7; ECF 2126 at 6-7), but the Order correctly rejected it as contrary to the law.

“Substitution of parties under Rule 25(c) falls within the sound discretion of the trial court,”

and courts “may refuse to substitute parties in an action.” Fischer Bros. Aviation v. NWA,



4
 The Objectors both cite Burroughs v. Mackie Moving Sys. Corp., 690 F.3d 1047 (8th Cir.
2012), for the proposition that a decision based on public policy triggers de novo review.
But de novo review applied there because the district court relied on Missouri’s public
policy to decide an “issue of law” that provided for a dispositive decision on the merits,
namely whether state law requires the “stacking” of auto-policy limits. Id. at 1053. The
Eighth Circuit reversed based on its review of state statutes and case law. That post-trial
decision is far afield from a discretionary procedural decision on a non-dispositive motion.

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Inc., 117 F.R.D. 114, 145-46 (D. Minn. 1987). 5 Given the Court’s discretion to decide

substitution, the Objectors citation to cases in which courts allowed substitution based on

other facts, records, and considerations does nothing to establish error here. As Sysco

knows and Magistrate Judge Docherty found, “no litigation funder has apparently ever

before asked to be substituted for its client under Rule 25(c).” (Order at 27; see also New

York Litigation Dkt. 18 at 13.)

       Both the law and the record support the Order’s concerns about Burford’s unfettered

control over antitrust claims and its attempt to use Carina to turn itself into a litigant. In

addition to citing the widespread condemnation of giving funders control over claims in

which they have no interest other than an investment, the Order specifically highlighted

“the harm of forcing litigation to continue that should have settled.” (Order at 16-17.)

Magistrate Judge Docherty explained in detail how Carina’s incentives diverge from

Sysco’s in ways that undermine the purpose of antitrust laws and impede the judicial

function. (Id. at 17.) Carina’s interest lies in maximizing Burford’s return on investment,

not deciding what it needs for its business to be made whole. (Id.) As the Order held, a

litigant motivated by financial returns on invested capital is far removed from one seeking

to remedy business losses allegedly resulting from antitrust violations. (Id. at 22.)



5
  Objectors’ case law confirms that courts have discretion to deny substitution, even where
an assignment has occurred. See ELCA Enters. v. Sisco Equip. Rental & Sales, Inc., 53 F.3d
186, 190-91 (8th Cir. 1995) (recognizing Rule 25 decision as discretionary and confirming
that a named plaintiff may continue to prosecute a claim, “even if they do not remain the
real party in interest”); Columbian Bank & Trust Co. v. Miller, 384 F. App’x 524, 525 (8th
Cir. 2010) (recognizing Rule 25 permits continued prosecution by the original party after
transfer).

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       Rather than dispute the point, Sysco openly admits it. Sysco has already represented

to this Court that Burford’s assertion of control over Sysco’s claims blocked the execution

of settlements that Sysco negotiated, which “forces multiple parties to continue to litigate

before this Court against their will.” (ECF 1845 at 2.) Even now, Sysco’s Objection

concedes that “Sysco’s business is distribution, not litigation, and Sysco does not always

want to assume the significant costs and hazards associated with litigation.” (ECF 2126 at

12; see also id. at 9 (“Sysco’s settlement with Burford was motivated in part by Sysco’s

desire to extricate itself from litigation and avoid the significant commercial risks and

hazards associated therewith.”) (emphasis added).) Sysco invokes the public policy in

favor of settlements to ask the Court to effectuate its own settlement with Burford to resolve

a problem of its own making, but simultaneously admits that Burford interfered with

execution of Sysco’s settlements in the case. (Id. at 9-11.) The record amply supports

Magistrate Judge Docherty’s judgment that turning a litigation funder into a plaintiff will

undermine the Court’s interest in the fair, efficient, and orderly resolution of claims. (See

Order at 19-21.) That has already happened, and Burford should not be allowed to use

Carina to “step into the shoes of the party it was funding … and conduct the litigation for

itself, in search of a larger payoff.” (Order at 27.)

       In opposing the Motion, Defendants also noted numerous additional problems that

Carina’s substitution would create at this stage of the litigation. (ECF 1972 at 21-29.)

Carina has no discernable assets and therefore no clear accountability to the Court or

Defendants for its conduct in the litigation. (Id. at 28-29.) Nor has Carina shown that

substitution would not “impair the substantive rights of the parties.” Great Western


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Casualty Co. v. Kirsch Transp. Serv’s, 2022 WL 4182377 at *3 (S.D. Ia., June 3, 2022).

Instead, Carina refused to stipulate to treating evidence obtained from Sysco as that of a

party opponent, or to its willingness to cover any costs that may be assessed. (See ECF

1972 at 22; Beef, ECF 293 at 13.) Additionally, discovery of Carina would now run into

summary judgment filings, thereby further “lengthen[ing] and complicat[ing]” resolution

of Sysco’s claims. See Advanced Mktg. Grp., Inc. v. Bus. Payment Sys., 269 F.R.D. 355,

359 (S.D.N.Y. 2010); (ECF 1972 at 25.) Substitution at this stage of the litigation would

be highly disruptive to the Court’s efforts to streamline DAP claims and adhere to a

common case-management schedule. (Id.) The Order was correct to be concerned with “a

mid-litigation Rule 25(c) substitution” (Order at 28), consistent with the issues Defendants

raised.

          In sum, Magistrate Judge Docherty’s conclusion about the implications of allowing

Burford to litigate Sysco’s alleged antitrust injury through Carina was well within his

discretion. Sysco has previously articulated the same concerns, and the Objectors cannot

reasonably claim the Court’s judgment was erroneous given their own history.

II.       THE SYSCO-BURFORD DISPUTE UNDERSCORES WHY DIRECT
          FUNDER CONTROL OVER LITIGATION VIOLATES PUBLIC POLICY IN
          ALL RELEVANT JURISDICTIONS

          While the Order did not rule on the validity of Sysco’s assignment, state and federal

courts uniformly reject the prospect of a funder directly controlling litigation.

          The Objectors do not dispute that all potentially relevant states condemn an

arrangement giving a funder decision-making authority over legal claims. Defendants’

opposition to the Motion reviewed state law in detail and explained why it governs the


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assignment’s validity. (ECF 1972 at 15-20; see also ECF 2009.) For example, in Mazlowski

v. Prospect Funding Partners, LLC, 944 N.W.2d 235 (Minn. 2020), even while abandoning

the doctrine of champerty, the Minnesota Supreme Court directed courts to be “careful to

ensure that litigation financiers do not attempt to control the course of the underlying

litigation” because “it is difficult to conceive of any stipulation more against public policy

than a contract requiring the litigation financier’s permission to settle the underlying

litigation.” Id. at 241 (cleaned up). The Order prudently rejected the Objectors’ attempt to

use Rule 25 to formalize precisely that outcome here.

       The Objectors labor to cite federal cases on any number of propositions—such as

the general assignability of claims—none speaking to the propriety of a funder morphing

into a plaintiff. No federal court has countenanced that abuse of Rule 25, and federal law

aligns with the states in forbidding it. See, e.g., In re Nat’l Prescription Opiate Litig., No.

1:17-MD-2804, 2018 WL 2127807, at *1 (N.D. Ohio May 7, 2018) (“[G]iving to the lender

any control over litigation strategy or settlement decisions” must be “deem[ed]

unenforceable”); Koro Co. v. Bristol-Myers Co., 568 F. Supp. 280, 286-88 (D.D.C. 1983)

(“Champerty is prohibited in the District of Columbia, as it is in New York. The same is

true under federal common law as it has been interpreted by this Court.”); District Distribs.,

Inc. v. Heublein, Inc., 1971 WL 559, at *3-*4 (D.D.C. May 28, 1971) (holding that

assignment of antitrust claim “effected a champertous action” under federal common law);

In re DesignLine Corp., 565 B.R. 341, 349 (Bankr. W.D.N.C. 2017) (rejecting funding

agreement as champertous in bankruptcy due to funder control). In short, while the

Objectors are eager to take the Court into any number of rabbit holes searching for some


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route to approval of Burford’s control over Sysco’s antitrust claims, Sysco is “aware of no

case upholding such an agreement; on the contrary, it is self-evident to courts confronting

this issue that they are unenforceable.” (New York Litigation Dkt. 34 at 4.)

                                     CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court deny the

Objectors’ objections to the Order and affirm denial of their motion for substitution.




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